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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

Inze: NEURONTIN MARKETING,
MDL Docket No. 1629

SALES PRACTICES AND PRODUCTS
Master File No. 04-10981

LIABILITY LITIGATION
Judge Patti B. Saris
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THIS DOCUMENT RELATES TO: :
IRENE BARLOW : Magistrate Judge Leo T. Sorokin
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PLAINTIFF BARLOW’S RESPONSE TO DEFENDANTS’ MOTION FOR
PROTECTIVE ORDER IMPOSING COST-SHIFTING

COMES NOW Plaintiff Irene Barlow, by and through her attorney of record, and
files this her Response to Defendants’ Motion for Protective Order Imposing Cost- |

Shifting, and in support thereof would respectfully show the Court as follows:

I.
PRELIMINARY STATEMENT

On October 28, 2009 Plaintiff Barlow submitted specific discovery requests to Defendant
Warner-Lambert / Pfizer targeted at getting information relevant to the upcoming depositions of
Plaintiff Barlow’s prescribing doctors and Defendant’s sales representatives who had contact
with them. Such depositions must be concluded by September 10, 2010, pursuant to this Court’s

order. Defendants had not produced any responsive information at the time Plaintiff Barlow filed
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her Motion to Compel and since has produced only limited information, Defendant Pfizer’s
responded to the Motion to Compel by filing a Motion for Protective Order Imposing Cost-
Shifting. For further details, argument and authorities, Plaintiff Barlow incorporates by
reference her previously filed Motion to Compel (Doc 2474) and supporting memorandum (Doc
2475).
Il.
DISCOVERY SOUGHT IS HIGHLY RELEVANT
AND NOT PREVIOUSLY PRODUCED

Plaintiff Barlow’s discovery requests primarily target the documents in the
possession of Defendant’s sales representatives and their communications among
themselves and with Plaintiff Barlow's prescribing doctors. Contrary to Defendant's
assertions that this is only “minimally relevant,” such information goes to the heart of
Plaintiff's claims that she received Neurontin as a direct result of Defendant's criminal
and felonious off-label marketing of that product to her doctors for treatment of her bi-
polar disorder. Defendant has previously asserted and continues to assert the learned
intermediary doctrine as a defense. Plaintiff Barlow’s discovery requests are for
documents and information that is specifically relevant to establish what information
Plaintiff Barlow's treating doctors received from Defendants in any manner and what
Defendants knew but failed to divulge to such doctors regarding the use of Neurontin
to treat bipolar patients. Illustrative of Plaintiff Barlow’s discovery requests that go to
the heart of Plaintiff Barlow’s case is the request for the “custodial files” of the specific
sales representatives who called upon her prescribing physicians and the
communications exchanged between Defendant and Plaintiff's treating doctors,
including direct mailings and in Continuing Medical Education (CME) programs. The

interrogatories and requests were modeled on the template discovery worked out by
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the parties three years ago in the MDL proceedings. Defendant Pfizer had not
previously provided this information as it relates specifically to Plaintiff Barlow.
Til.

COST SHIFTING

Defendant Pfizer’s response to the request for this highly relevant and specific discovery
was not to provide discovery but, rather, to file a motion to shift the burden of the cost of
providing such discovery to Plaintiff Barlow. Pfizer is one of the largest drug manufacturers in
the world with net sales exceeding $48 billion dollars for the year ending 2008 and with net
income exceeding $8 Billion dollars for the same year, according to its 2008 financial report, the
relevant portion of which ts attached hereto and incorporated herein for all purposes as Exhibit 1.
It earned almost $10 Billion in revenues from Neurontin before Warner-Lambert pleaded guilty
to both felony off-label marketing and to felony misbranding, the failure to provide doctors
adequate instructions for use of the product. Plaintiff Barlow, as evidenced by her affidavit
which is attached hereto and incorporated herein for all purposes as Exhibit 2, is a homemaker
who has not been employed outside the home in the past twenty years and who lives with her
husband on her husband’s pension. Defendants, by seeking to impose discovery costs on
Plaintiff, is in effect making discovery so expensive as to be impossible. By refusing to provide
discovery readily available to it, in response to the template discovery forms, Defendants seek to

obstruct the discovery schedule ordered by this Court.

IV.
ARGUMENT AND AUTHORITIES

The presumption under the Federal Rules of Civil Procedure is that the
producing party bears the cost of complying with the discovery requests. The court may

shift the burden of the cost to requesting party only in the event that the discovery
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request seeks information not reasonably accessible and to prevent undue burden and
expense. Peskoffv. Faber, 251 F.R.D. 59, 61 (D.D.C. 2008) (holding cost of forensic search
for e-mail and other electronic records in response to discovery requests does not
represent burden or expense so undue as to justify shifting to plaintiff as requesting
party). See also, Xpedior Creditor Trust v. Credit Suisse First Boston (USA) Inc., 309 F.
Supp.2d 459, 465-467 (S.D.N.Y. 2003) (holding cost-shifting not required despite the fact
discovery requests would cost $400,000 because responding party was worth $5.7
billion and potential damages in case also exceeded $68 million).

The case law and the rules are clear that the party asserting the “unduly
burdensome” objection to a discovery request has the burden to show (i) not only the
undue burden or expense, but that (ii) expense is unreasonable in light of the benefits to
be secured from the discovery. Hagemeyer North America, Inc. v. Gateway Data Sciences
Corp., 222 F.R.D. 594, 602-603 (E.D. Wis.2004) (holding order shifting costs of production
in response to discovery request should only issue when request truly threatens to
subject responding party to undue burden or costs).

There are seven different factors used by Federal Courts to determine whether
cost-shifting measures are appropriate, known as “The Zubulake Factors;” (1) the extent
to which request is specifically tailored to discover relevant information, (2) availability
of such information from other sources, (3) total costs of production, compared to
amount in controversy, (4) total costs of production, compared to resources available to
each party, (5) relative ability of each party to control costs and its incentive to do so, (6)
importance of issues at stake in litigation, and (7) relative benefits to parties of obtaining
information. The factors are weighed in descending order of importance, not equally.
Zubulake v, UBS Warburg, LLC, 217 F.R.D. 309, 322 (S.D.N.Y. 2003); Hagemeyer, 222 F.R.D.
at 602-603; Xpedior, 309 F. Supp.2d at 465-466.
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Such factors all weigh in favor of Plaintiff Barlow in the instant case. In
particular, Barlow has made very specific requests primarily directed toward the
communications Defendants had with Defendant's prescribing physicians. It is hardly
conceivable that Defendant Pfizer would not have readily identifiable and accessible
records (“custodial files”) of their sales representatives and other promotional
communications to physicians in light of the history of this litigation. There is no
dispute that Defendant Pfizer had knowledge that Neurontin had “lots of legal
problems” when in the year 2000 it undertook to make it a “blockbuster drug” by
selling an additional “$10 Billion” of it “beyond its expected original life (the Year
2000).” (Pfizer memo dated April 10, 2003 attached as Ex. 5 to Plaintiff’s Barlow
Memorandum (Doc. 2476-6)). We now know from their admissions in the criminal
prosecution that they accomplished that through their off-label marketing schemes. As
such, Defendants had the duty and responsibility to identify and preserve the types of
documents sought here, not to make them more difficult to find and produce. Pension
Committee of the University of Montreal Pension Plan v. Banc of America Securites, 2010 WL
184312 (S.D.N.Y. Jan. 15, 2010). Any problem Defendant claims regarding the
inaccessibility of the records sought is a problem of their own making and
consequently, “the expense and burden of the forensic examination can hardly be
described as ‘undue.’” Peskoff v. Faber, 251 F.R.D. supra at 63 (holding no reason to
deviate from traditional rule because costs were attributable to failure of responding
party to properly preserve information). Scanning of such documents and digitally
producing them to an opposing party in a searchable format is a common litigation
function in this day and time and in this type of case. Plaintiff Barlow has no other
source for the information sought. Obviously, when comparing the resources of Pfizer

to one or all of the individual Plaintiffs in this case, the total costs of production should
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be borne by Defendants and Defendants alone. The evidence Defendant presents to
support a claim of “undue burden” is wholly insufficient and conclusory. Even if the
estimates of costs set out by Deena Coleman were accurate, which is vigorously denied,
the burden of those costs should still remain on Defendant Pfizer because of the
Zubulake factors, including the respective financial position of the parties, and
Defendant Pfizer’s “unclean hands.” The notion that the criminal should be able to shift
the expense of the burden of disclosing the seeds of its crimes to the victims in this case
is as repugnant as if Bernie Madoff were to claim it would cause him undue hardship
and expense to search his records to determine where the money went that he stole

from his victims.

Vv.
SUMMARY

In summary, Defendant says it cannot produce “custodial files” of present or
past employees, nor can it produce communications and promotional records it had
with Plaintiff Barlow's prescribing doctors, both directly and indirectly through CME
programs, samples, publications, and the like, without placing an extreme financial
burden on Plaintiff Barlow. Such position should be rejected. There is no reason to
deviate from the traditional rule and accepted practice that a responding party bears the
costs of production, especially when the responding party is a convicted felon who is
being required to produce evidence if its criminal conduct. It is clear that Defendant is
attempting to make discovery expensive and eventually impossible for this Plaintiff and
to obstruct the schedule this Court has ordered.

WHEREFORE, PREMISES CONSIDERED, Plaintiff Barlow prays that
Defendants Motion for Cost-Shifting be denied in all respects and that Defendants be

ordered to produce all records sought by her Motion to Compel.
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Respectfully submitted,

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By:
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By: ;
State Ba : 91500
ATTORNEYS FOR PLAINTIFF
IRENE BARLOW

CERTIFICATE OF SERVICE

I certify that this document filed through the ECF system has keen served pursuant to
Case Management Order #3 on March 9, 2010.

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Atchie Carl Fierce

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Financial Review
Pfizer Inc and Subsidiary Companies

amount of cash flows approximate the estimated payouts of the plans. For our international plans, the discount rates are set by
benchmarking against investment grade corporate bonds rated AA or better, including where there is sufficient data, a yield curve
approach. Holding all other assumptions constant, the effect of a 0.1 percentage-point decrease in the discount rate assumption is
an increase in our 2009 U.S. qualified pension plans’ pre-tax expense of approximately $12 million and an increase in the U.S.
qualified pension plans’ projected benefit obligations as of December 37, 2008, of approximately $97 million.

Analysis of the Consolidated Statement of Income

YEAR ENDED DECEMBER 31, % CHANGE
{MILLIONS OF DOLLARS) 008s 2007 2006 ee 0B/ 07/06

Revenues $48,418 $48,371 _—

Cost of sales 11,239 7,640 47
% of revenues 23.2% 15.8%

SI&A expenses 15,626 15,589 —
% of revenues 32.3% 32.2%

R&D expenses 8,089 7,599 6
% of revenues 16.7% 15.7%

Amortization of intangible assets 3,128 3,261 (4)
% of revenues 6.5% 6.7%

Acquisition-related IPR&D charges 283 835 (66)
% of revenues 0.6% 1.7%

Restructuring charges and acquisition-related costs 2,534 1,323 92
% of revenues Be at 5.2% 2.7%

Other {income)/deductions—net fo 2,032 00% (1,759) (904) 95

Income from continuing operations before provision for es
taxes on income, and minority interests 9,278 13,028 (29)
% of revenues 19.2% 26.9%

Provision for taxes on income 1,023 1,992 {49}

Effective tax rate 11.0% 15.3%

Minority interest - 42 12 2356

Discontinued operations—net of tax (69) 8,313 *

Net income $ 8,144 $19,337 (58)
% of revenues 16.8% 40.0%

fod

* Calculation not meaningful.
Percentages in this table and throughout the Financial Review may reflect rounding adjustments.

Revenues
Total revenues were $48.3 billion in 2008, essentially flat compared to 2007, primarily due to:

* an aggregate increase in revenues from Pharmaceutical products launched in the U.S. since 2006 and fram many in-line products in
2008;

* the weakening of the U.S. dollar relative to many foreign currencies, especially the euro, Japanese yen and Canadian dollar, which
increased revenues by approximately $1.6 billion, or 3.3%, in 2008; and

* increased revenues in our Animal Health segment and other businesses of $128 ruiillion in 2008,
offset by:

* a decrease in revenues for Zytec/Zyriec D of $1.4 billion in 2008, primarily due to the loss of U.S. exclusivity and, in connection with our
divestiture of our Consumer Healthcare business, the cessation of selling this product in late January 2008;

* a decrease in revenues for Norvasc of $757 million in 2008, primarily due to the loss of U.S. exclusivity in March 2007;

* an increase in rebates in 2008 due to a 2007 favorable adjustment recorded in 2007 based on the actual claims experienced under the
Medicare Act, as well as the impact of our contracting strategies with both government and non-government entities in the U.S.;

* a decrease in revenues for Camptosar in the U.S. of $457 million in 2008, primarily due to the loss of U.S. exclusivity in February 2008:

* adecrease in revenues for Lipitor in the U.S. of $863 million in 2008, primarily resulting from competitive pressures from generics,
among other factors; and

* an adjustment to the prior years’ liabilities for product returns of $217 million recorded in the third quarter of 2008 (see the “Certain
Charges: Adjustment of Prior Years’ Liabilities for Product Returns” section of this Financial Review).

In 2008, Lipitor, Norvasc (which lost U.S. exclusivity in March 2007), Lyrica and Celebrex each delivered at least $2 billion in
revenues, while Geodon/Zeldox, Zyvox, Viagra, Detrol/Detrol LA and Xalatan/Xalacom each surpassed $1 billion.

Exh | b it 1 2008 Financial Report 17
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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

In re: NEURONTIN MARKETING,
MDL Docket No. 1629

SALES PRACTICES AND PRODUCTS
Master File No. 04-1098]

LIABILITY LITIGATION :
Judge Patti B. Saris
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THIS DOCUMENT RELATES TO: :
IRENE BARLOW : Magistrate Judge Leo T. Sorokin
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AFFIDAVIT OF IRENE BARLOW

L IRENE BARLOW, being duly sworn depose and state as follows:

1. My name is Irene Barlow. I am the Plaintiff in the above styled and
numbered cause. I was born on August 28, 1949 and am 60 years of age.

2. lam a housewife. I have been a housewife most of my adult life. I have
not been employed outside the home in over 20 years.

3. lam married to Fred Barlow. We have been married over 40 years. My

husband retired in 2004 after 17 years with Continental Airlines as a First Officer. We
have lived on his retirement since that date.

Exhibit 2
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FURTHER AFFIANT SAYETH NAUGHT.

Disne BGartlyer

Irene Barlow

SUBSCRIBED AND SWORN TO before me on this the Sth day of Heth,
2010, to certify which witness my hand and seal of office.

_ fo Cae

CAMERON HEARN SNIDER NOTARY PUBLIC, STATE OF TEXAS
} STATE OF TEXAS My Commission Expires: _/i [ IiOf 2012

My Comin, Exp. 11-10-12

SS os,

